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EXHIBIT A

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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss SUPERIOR COURT

ANDREA sPENCE,
on behalf of herself and others
similarly situated,

Case No. SUCV2014-00850-BLSZ
Plaintiff,

VS.

CAVALRY PORTFOLIO SERVICES,
LLC and CAVALRY SPV I, LLC,

Defendants.

AMENDED CLASS ACTION COMPLAINT

l. This action seeks class-wide relief for Cavalry Portfolio Services, LLC and
Cavalry SPV I, LLC’s (“Cavalry’s”) unlawful, unfair and deceptive debt collection practices in
Massachusetts. Cavalry is a high volume purchaser of defaulted consumer debt, buying charged-
off credit card debts typically for pennies on the dollar.

2. After Cavalry purchases these debts it immediately and unlawfully inflates the
balance by retroactively adding interest for a time period when it did not own the debt, and when
the owner at the time waived the right to collect interest Cavalry then seeks to collect this
unlawful interest though litigation and other methods, and reports the inflated balance to
consumer credit bureaus.

3. Cavalry’s actions violate the F air Debt Collection Practices Act, 15 U.S.C. §1692,
et seq. (“FDCPA”) and state law.

4. Specifically, the FDCPA prohibits, inter alia, the use of any false, deceptive or

misleading statements in connection with the collection of a debt; the collection of any amount

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not permitted by law; false representations as to the character, amount or status of a debt; threats
to take an action which cannot legally be taken; and the communication of false credit
information 15 U.S.C. §§ l692e(2), (5), (6), (8), (10), l692f(l). lt also requires debt collectors
to give debtors certain inforrnation.

5. Massachusetts law similarly prohibits unfair and deceptive debt collection
practices, M.G.L. c. 93 § 49, as well as the reporting of inaccurate information to credit bureaus,
M.G.L. c. 93 § 54A. Cavalry’s actions also violate M.G.L. c. 93A, § 2.

VENUE AND JURISDICTION

6. This Court has jurisdiction over this action and Cavalry pursuant to M.G.L. c.
214, §§ l, 5; c. 212 § 3; c. 231A, §l.

7. Venue is proper in this county because Ms. Spence resides in this county, and

Cavalry directed its communications to Ms. Spence in this county.

PARTIES
8. Plaintiff Andréa Spence is a resident of Jamaica Plain, Massachusetts
9. Defendant Cavalry Portfolio Services, LLC is a limited liability company

chartered under Delaware law with offices at 500 Summit Lake Drive, Suite 400, Valhalla, New
York 105 95. lt does business in Massachusetts

lO. Defendant Cavalry Portfolio Services, LLC is engaged in the business of collecting
charged-off consumer debts originally owed to others. It is licensed as a debt collector by the
Massachusetts Division of Banks.

ll. Cavalry Portfolio Services, LLC uses the mails in conducting its business.

12. Cavalry Portfolio Services, LLC is a debt collector as defined by the FDCPA and

Massachusetts law.

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13. Defendant Cavalry SPV I, LLC is a limited liability company chartered under
Delaware law with offices at 500 Summit Lake Dr., Suite 400, Valhalla, NY 10595. lt does
business in Massachusetts

l4. Defendant Cavalry SPV I, LLC is engaged in the business of purchasing or
acquiring, or claims to purchase or acquire, charged-off consumer debts originally owed to
others.

15. Cavalry SPV I, LLC uses the mails and telephone system in conducting its

business.

16. Cavalry SPV I, LLC is a debt collector as defined in the FDCPA, and
Massachusetts law.

l7. Cavalry SPV l, LLC is not licensed as a debt collector in Massachusetts.

18. Defendants Cavalry Portfolio Services, LLC and Cavalry SPV I, LLC are
affiliates and are under common management and control.

FACTUAL ALLEGATIONS RELATING TO MS. SPENCE

l9. On or about August l3, 2009, FIA Card Services, N.A. (“FIA”) sent MS. Spence a
collection letter on behalf of Bank of America, attached as Exhibit A, stating that she had an
overdue account balance of $21,472 on a credit card account (“BOA account”)

20. The alleged debt was incurred for personal, family or household purposes.

21. On August 20, 2009, FIA sent Ms. Spence another collection letter on behalf of
Bank of America, with respect to the same credit card account that stated “This is Our Final
Notice” and that the account was about to be written off as bad debt. The letter further stated that
once the account was written off, it would be sold to a third party and the third party would

continue to collect this balance. This letter is attached as Exhibit B.

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22. Bank of America charged-off Ms. Spence’s BOA account in September 2009 in
the amount of $21,355, but it retained the account until November 2011.

23. Beginning in September 2009 through January 2011, Ms. Spence received at least
six letters from a series of debt collectors seeking to collect the alleged BOA account debt on
behalf of Bank of America, all stating the same Balance Due of $21,355.66. These letters are
attached as Exhibit C.

24. The final letter in this series was sent on January 8, 2011 by NCO Financial
Systems Inc., on behalf of Bank of America. This letter stated that the Current Balance Due on
January 8, 2011 was $21,355.66. Exhibit D.

25. In November of 201 1, Bank of America reported to Experian, Equifax and Trans
Union that the charge-off amount for the BOA account was $21,355, and the High Balance was
$21,472. Exhibit E.

26. In November 2011, Bank of America sold the BOA account to Cavalry.

27. One month later, on or about December 6, 2011, Cavalry Portfolio Services, LLC
sent Ms. Spence the collection letter attached as Exhibit F on behalf of Cavalry SPV I, LLC,
stating that it had purchased the alleged BOA account, and that the Current Balance now due was
$ $26,794.32. The balance had increased by $5,438.66 in only one month.

28. The amount Cavalry sought included retroactive interest on the charged-off debt,
computed at an unknown rate of interest.

29. The $5,438.66 in interest demanded in Cavalry’s first letter to Ms. Spence, after
only owning the account for one month, included interest prior to the date on which Cavalry claims
to have purchased the alleged debt.

30. Bank of America, and/or FIA Card Services, from which Cavalry allegedly

purchased the debt, did not charge interest between the date the account was charged-off and the

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date it was sold to Cavalry, and in fact waived any interest charges during this time period.

31. Bank of America, and/or FIA Card Services, did not send billing statements to
Ms. Spence after it charged-off the account.

32. On information and belief, Bank of America, and/or FIA Card Services, sold the
debt in the amount of $21 ,355.66.

33. lt is the policy and practice of Cavalry to add interest to debts for the period prior
to the date on which it claims to have purchased them, even if the original creditor of the debt did
not add interest during that period.

34. After its initial letter to Ms. Spence, Cavalry sent a series of collection letters
seeking ever increasing amounts, based on the application of an unknown rate of interest

35. On February 7, 2012, Cavalry Portfolio Services, LLC, on behalf of Cavalry SPV
l, LLC, sent Ms. Spence the collection letter attached as Exhibit G, stating that the Current
Balance of the debt was $27,208.63.

36. On August 10, 2012, Cavalry Portfolio Services, LLC sent Ms. Spence the
collection letter attached as Exhibit H, stating that the Current Balance of the debt was
$28,425.26.

37. On October 18, 2012, Cavalry Portfolio Services, LLC sent Ms. Spence the
collection letter attached as Exhibit I, stating that the Current Balance of the debt was
$28,879.03.

38. On December 26, 2012, Cavalry Portfolio Services, LLC sent MS. Spence the
collection letter attached as Exhibit J, stating that the Current Balance of the debt was
$29,332.80.

39. In November 2013, Cavalry reported the debt to Trans Union in the amount of

$29,977. A copy of the trade-line from Ms. Spence’s credit report is attached as Exhibit K.

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40. On December 5, 2013, American Coradius International LLC sent Ms. Spence the
collection letter attached as Exhibit L on behalf of Cavalry SPV l, LLC, stating that the Account
Balance was $29,977.28. -

41. There was no agreement between Ms. Spence and Cavalry authorizing the
imposition of interest.

FACTUAL ALLEGATIONS RELATING TO CAVALRY’S PRACTICES IN GENERAL

42. Cavalry purchases, or claims to purchase, credit card debts from banks months or
years after the bank has charged-off the debts.

43. Under federal banking regulations, a credit card debt must be charged-off when it
is 180 days overdue (it may be charged-off earlier). Federal Financial lnstitutions Examination
Council, Uniform Retail Credit Classification and Account Management Policy, 65 FR 36903
(June 12, 2000).

44. Charge-off means that the credit card receivable is no longer carried on a bank’s
books as an asset.

45. Standard form credit card agreements used by banks provide that the terms of the
agreement can be changed from time to time, and that changes beneficial to the consumer such
as a reduction in or waiver of interest may be effected immediately and without notice.

46. For a variety of sound business reasons, most banks waive interest on credit card
debts after charge-off for as long as the debts are held by the banks.

47. Among other reasons for this practice, banks did not, and do not, want to increase
the amount of bad debts on their books, for regulatory reasons.

48. Federal regulations require banks to send periodic statements on all accounts,
including defaulted accounts, for any period during which interest or fees are added to the

account. 12 C.F.R.§226.5(b)(2)(l) (“[a] periodic statement need not be sent for an account if the

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creditor deems it uncollectible, if delinquency collection proceedings have been instituted, if the
creditor has charged-off the account in accordance with loan-loss provisions and will not charge
any additional fees or interest on the account. . . .”). Banks generally prefer to waive the interest
and save the expense of preparing and sending statements

49. Cavalry engages in a practice of adding interest to credit card debts after the
assignor bank has Waived the interest. Specifically, Cavalry adds interest for the period between
charge-off and its purchase of the debt.

50. This addition of interest for this time period is improper. As assignee, Cavalry
could only take what Bank of America could give. lf Bank of America waived the right to add
interest post-charge-off, Cavalry acquired the debt (if at all) subject to that waiver.

CLASS ALLEGATIONS

51. Ms. Spence brings this claim on behalf of a class, pursuant to Mass. R. Civ. P. 23,
and/or M.G.L. c. 93A, § 9(2).

52. The class consists of (a) all individuals in Massachusetts; (b) whose debt Cavalry
purchased; (c) the owner of the debt had ceased adding interest to it prior to Cavalry’s purchase;
(d) Cavalry added interest for a period prior to the date it purchased the debt; and (e) Cavalry

sought to collect such additional interest, and/or reported a balance including such interest to a

credit reporting agency.

53. The class is so numerous that joinder of all members is not practicable.
54. On information and belief, there are hundreds if not thousands of class members.
55. There are questions of law and fact common to the class members, which

common questions predominate over any questions relating to individual class members. The

predominant common questions are:

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a. Whether a debt buyer can retroactively charge interest on an account it has
purchased when the prior owner waived such interest;

b. Whether Cavalry engages in a practice of adding or suing for such retroactive
interest, or claiming the right to do so ;

C. Whether the interest was waived by the prior owner;

d. Whether the proper interest rate was applied;

e. Whether inaccurate balance information was reported to credit reporting
agencies;

f. Whether Cavalry’s practices are unfair or deceptive under M.G.L. c. 93A;

g. Whether such conduct violates the FDCPA and/or state law.

56. Ms. Spence’s claim is typical of the claims of the class members. All are based on

the same factual and legal theories.
57. Ms. Spence will fairly and adequately represent the class members. Ms. Spence

has retained counsel experienced in class actions and FDCPA litigation.

5 8. A class action is superior for the fair and efficient adjudication of this matter, in
that:
a. Individual actions are not economically feasible;
b. Members of the class are likely to be unaware of their rights;
c. Congress intended class actions to be the principal enforcement mechanism
under the FDCPA.

COUNT I - FDCPA
59. The addition of unauthorized interest to debts is both a deceptive collection
practice, in violation of 15 U.S.C. §§1692e, 1692e(2), l692e(5), and 1692e(10), and an unfair
collection practice, in violation of 15 U.S.C. §§1692f and 1692f(1).

60. The reporting to credit reporting agencies of amounts not legally owed violates 15

U.s.C. §§1692@.

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61. As a result of Defendants’ violations of the FDCPA, MS. Spence and class
members are entitled to actual and statutory damages pursuant to 15 U.S.C. § 1692k(a)(1),
(2)(A), in an amount to be determined at trial by a jury; and reasonable attorney’s fees and costs
pursuant to 15 U.S.C. § 1692k(a)(3) from both Defendants.

COUNT II - MASSACHUSETTS CREDIT REPORTING

62. The reporting of false information to credit bureaus violates M.G.L. c. 93, § 54A.

63. Cavalry willfully and/or negligently violated c. 93, § 54A when it reported
balances to the credit bureaus that included unauthorized interest.

64. As a result of Cavalry’s violations of c. 93, § 54A, it is liable for actual damages,
punitive damages, in amounts to be determined at trial, and attorney’s fees and costs, pursuant to
c. 93 §§ 63 and 64.

COUNT III - DECLARATORY AND EQUITABLE RELIEF

65. Cavalry regularly (a) adds unauthorized interest to debts; (b) demands payment of

such unauthorized interest; and (c) reports such unauthorized interest to credit bureaus.
COUNT IV - VIOLATION OF CHAPTER 93A

66. By the conduct complained of, Cavalry engaged in unfair and deceptive practices
when it added interest that was not owed to class members’ accounts, reported such interest as a
valid debt to credit reporting agencies, and sought to collect such interest. As a result thereof,
MS. Spence and class members have been damaged in an amount to be determined at trial.

67. Cavalry’s unfair and deceptive practices include the violations of the FDCPA
cited above, and the following without limitation:

0 Attempting to collect debts while unlicensed and unbonded, in violation of M.G.L. c.
93, §§ 24-28, 49, and c. 93A;

0 Attempting to collect a debt in an unfair, deceptive or unreasonable manner, in
violation of M.G.L. c. 93, § 49, and c. 93A;

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§ 9(3).

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0 The reporting of false information to credit bureaus in violation of M.G.L. c. 93, §§
54A, and 68; '

0 The use of false, deceptive, or misleading representation or means in connection with
the collection of any debt, including but not limited to: the threat to take any action
that cannot legally be taken; the false representation of the character, amount, or legal
status of any debt; or communicating to any person credit information which is
known or which should be known to be false, 209 C.M.R. 18.16 (2), (5), (8);

0 The use of unfair or unconscionable means to collect or attempt to collect a debt,
including but not limited to: the collection of any amount (including any interest, fee,
charge, or expense incidental to the principal obligation) unless such amount is
expressly authorized by the agreement creating the debt or permitted by law. 209
C.M.R. 18.17 (1).

68. Cavalry’s actions were willful and knowing within the meaning of M.G.L. c. 93A,

69. On March 13, 2014 Ms. Spence sent a demand pursuant to M.G.L. c. 93A, § 9(3)

to Cavalry, demanding relief for Cavalry’s practices, on behalf of herself and a class of similarly

situated individuals in Massachusetts A copy is attached as Exhibit M. Cavalry failed to make a

reasonable offer in response, offering no relief whatsoever to the putative class.

RELIEF REQUESTED

WHEREFORE, Ms. Spence respectfully requests that this Court enter judgment in her favor

and that of the class and against the defendants for:

(l) Statutory damages;

(2) Actual damages equal to any unauthorized interest paid with pre-judgment
interest thereon, doubled or trebled;

(3) A credit for any unauthorized interest assessed;

(4) Attorneys’ fees, litigation expenses and costs of suit;

(5) Compensatory, nominal and punitive damages;

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(6) A declaration that Cavalry may not add interest to a debt for a period prior to its
alleged ownership of the debt where such interest had not been added by the owner of the
debt at that time;
(7) An injunction prohibiting Cavalry from demanding such interest or reporting such
interest to credit bureaus, and requiring Cavalry to correct any credit reports already
made to delete all unauthorized interest;
(8) Such other and further relief as is appropriate

TRIAL BY .]URY IS DEMANDED.

Respectfully submitted
ANDREA sPENCE,
By her orneys:

/(/l/\/

` a eth Ryan, BBO #549632
John Roddy, BBO #424240
Bailey & Glasser LLP
125 Summer Street, Suite 1030
Boston, MA 02110
Telephone: (617) 439-6730
Fax: (617) 951-3954
eryan@baileyglasser.com
jroddy@baileyglasser.com

 

Date: May 9, 2014

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EXHIBIT A

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FlAl A(;ARD SERV|CES“‘

Ea$! P.§! COm

You have less than 15 days to work with us

ANDREA C SPENCE
PO BOX 300706
JAMA|CA PLA|NI MA 02130-0035

August 13, 2009
Account No.: 374322030494682

Dear Andrea C Spence,

  

Vour FlA Card Services, N. A. account balanc = 01$21 472 is scheduled to be written ott as a bad debt this
month. For the next seven years. any potentia -- . - - engage ccmpany, car dealership. or creditor
may be able to see this bad debt on your credit tile.

Feilure to set up payment arrangements by August 20, 2009 may result in your account balance
being written oft as a bad debt, and FlA Card Servlces, N.A. may conslder taking one of the
following actions:

» Sellln o lecl our account s with a thlr - rt collection nc FlA Card Servlces, N.A
will grant permission to a third-party collection agency to attempt to collect and liquidate your
accounts

o Fleferrln ur accoun s to a attor for le l tion if a claim ls filed against you and FlA
Card Servlces. N.A is granted an award. our counsel would then seek to enforce the award against
you under applicable |aw.

» Re't intn ur acooun l l rther lect t'torts Even after FlA Card Services. N.A writes
your accounts ott as a bad debt. we will continue to contact you to collect your balance and liquidate
your acoounls.

Ycu mn prevent this from happenian Call by August 20. 2009 at 1-866-441-2294 and we will work with
you lo make long term payment arrangements

Slncere|y.
Customer Assistance department

P.S. You may still be able to take advantage of the previous offers we have prcvtded, but you
need to call by August 20, 2009\

P|ease call 1-866-441-2294 today!
Monday to Friday B:OO AM. to 9:00 P.M. or
Saturday B:OO A.M. to Noon
(Eastern time)

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EXHIBIT B

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FlA CARD SERVICES“‘
wM,E|AEg§yPay.com
This is Our Fr'nal Notr'ce...

ANDREA C SPENCE
PO BOX 300706
JAMAICA PLAIN, MA 02130-0035

August 20, 2009
Account No.: 374322030494682

Dear Andrea C Spence,

This is our final notice to you regarding the above-referenced account. Please contact us
by 10:00 P.M. Eastem time on August 28. 2009. lf you do not contact us, this account
will be written off as a bad debt Once your account is written oti, it may be placed for
further collection by FlA Card Servioes, N.A. or sold to a third party to recover the full
balance.

in the event that your account is sold to a third party, they will continue to collect this
balance from you and liquidate the account This can be done in various ways such as
phone calls. letters, and possibly legal ection. You will no longer have the opportunity to
work out the specific payment arrangements that FlA Card Senrices. N.A. has tried to
resolve with you over the past several months. Hemember. FlA Card Services. N.A. has
had a long relationship with you, the third party who will handle your account has not.

Only you can prevent this from happening by calling 1-880-?55-1566 and making a
qualifying payment before 10:00 P.M. p,m. Eastern time. Tlme is running out!

Please call 1-888-755-1566, Monday to Friday 8:00 A.M. to 9:00 P.M. or Saturday
__8:90_ §,M. to Noon_ _(_Ea_stern time). Our knowledgeable associates are ready to
ass.my°u_ .__.._ __ .._ .. ._,.._._ ._ _. . .
Sincerely,

Customer Asslstance department

P.S. if you choose not to make payment arrangements, your relationship with FlA Card
Services. N.A. will be terminated, however, you will still be responsible tor this debt. in

addition. until the year 2016, any potential employer. mortgage company. car dealershlp.
or creditor will be able to see this bed debt on your credit tite.

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CB-b|bdr

 

 

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Racetvablee Management lnc.

 

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Telephone= 866-861-8471 Name : ANoRr-:A c spence
September 8, 2009 Account Number Z 9379052 PlN t N/A
C|ient Referance Number : 374322999723008

Client : BANK OF AMER|C\A

Your account has been referred to our office for Coliections.

if this has been an oversight on your behalf, mail the balance in full _to our office. lf you are experiencing nnancial
diliicuities, call our office and a representative will assist you in negotiating a suitable an'angement.

The total account balance as of the date of this letter is shown below. Your account balance may increase because of
interest or other charges, if so provided in your agreement with your creditor.

Telephone: 866-861-8471

Unle.ss neil this office within 30 d after receiving this notice th_at you dispute the vati_dt of this debtor any
portion areof. _ls oflioe will assume th debt ls valid. iyou notify this office in _wnting_ within _daye from

receiving this notice that you dispute this debtor any portion lhereoi. this office will obtain verification of the debt or
obtain a copy of a judgmentand maB_you a co of such judgment or verification lf you request this since in wriiir_t
within 30 days alter receiving this notice. this ice will provi e you with the name and address cf the original credi r.

if different from the current creditcr.

By sending us a check or giving us your attacking account lnformetion for payment cu authorize AliianceOne to
collect funds electronicaliy. in whtlch case your check may not be returned to you. can also arrange for a direct

debit from your attacking acccun .

This communication is from a debt ccllector. This is an attempt to collect a debt. and any information obtained will be
used for that purpose
Mh\tii’r%%%i%&‘il%*ab%

YOU HAVE THE RiGHT TO M ST THAT TELEPHONE CALLS
R£GARDiNG ¥CUR DEBT NOT BE MADE TO VOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL
REQUEST WiLL BE VAL|D FOR ONLY TEN DAYS UNLESS YOU PRCV|DE WR|TTEN CONFlRMAT|ON OF THE
REQUEST POSTMARKED OR DELiVERED W|THIN SEVEN DA¥S OF SUCH REOUEST. YOU MAY TERM|NATE
THIS REQLlEST BY WRlTiNG TO THE DEBT COLLECTOR.

MASSACHUSETTS OFFICE HOURS ARE BAM TO BPM M~TH. BAM TO 5PM FRl. SAM TO 12 NOON SAT.

>S.,?ebsb_Qemc_Eerteo_Ms._Ratt.'rrt_i!t*.\.'?sirnst‘!..>E___.--...

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PO BOX 510987

LIVONIA Ml 48151-6987

RETURN SERV|CE REQUESTED

 

f Maii return address cn|y; send no letters

 

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Poveoeoosoazss rome

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souTi-reAs'reRN PA reese-3100

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' 4850 Stree‘t Rd. Suite 300
Mj ance( >ne Trevose PA 19053
Rs¢er;ab|es Management inc_ f leas nd allcorr s criden et v ddr ss
TB|Bpi'lOn€l 866-861-8471 blame : ANDREA C SpENCE
N°"°"‘b°' 16' 2°°9 Account Number z 9379052 PiN : NiA

Client Reference Number : 374322999723006
Client : BANK OF AMER\CA

Your account has been referred to our office for Ccllections.

li this has been an oversight on your behali. mail the balance in full _to our o_ff'ioe. |f you are experiencing financial
difficulties. call our office and a representative will assist you in negotiating a suitable arrangement

Teiephone: 866-861-8471

Unless you noti this office _within 30 de s after receiving this notice that you dispute_the v'ali_dit`y’ of this debtor any

portion ereof. is office will assume th s debt is valid. l you noti this office in _writing within 0 _days from

receiving this notice that you dispute this debt cr any portion thereo . this omco will obtain verdication of.the_debt or
ch jud ment or verification lf you request this office in writing

obtain a copy of a judgment and mail_you a cophy of su _ _
within 30 days after receiving this notice. this o ice will provi e you with the name and address of the original creditor.

ll different from the current creditor.

By sending us a check or giving us your checking account information for payment ou authorize AliianceOne to
collect funds electronically. in which case your check may not be returned to you. e can also arrange for a d`o'ect

debit from your checking account

As of the date of this letter. you owe $21355.66. Your account balance may be periodically increased due to the
addition of accmed interest or other charges if so provided in your agreement with your original creditor.

This communication is from a debt collector. This is an attempt to collect a debt, and any information obtained will be
used for that purpose

N Tl OF MP R A
YOU HAVE THE RlGHT TO MA QV%R ST THAT TELEPHONE CALLS
REGARD|NG YOUR DEBT NOT BE MADE TC VOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL
REQUEST WlLL BE VAL|D FOR ONLY TEN DAVS UNLESS YOU PRDV|DE WR|T|`EN CONF|RMAT|ON OF THE
REQUEST POSTMARKED OR DELlVERED WlTHlN SEVEN DAYS OF SUCH REQUEST. YOU MA¥ TERMINATE

THIS REQUEST BY WRIT|NG TO THE DEBT COLLECTOR.
MASSACHUSETTS OFFICE HOURS ARE BAM TO BPM M-TH. SAM TO SPM FR|, BAM TO 12 NOON SAT.

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To contact us regarding your account. cell:

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Case 1:14-cv-12655-PBS Document 1-1 Filed 06/26/14 Page 20 of 50

4285 (:`ienesee Street NOHTHSTAF\
Cheektowaga. N¥ 14225-1943 LOCAT|ON SERVICES, LLC

1-866-328-8252
Hours MOn-Thur BAM-lOF'M EST,
Fri SAM~BPM. Sat 8AM-4PM EST

Augus' 6’ 2010 crediwr: Bank or America, N.A.

 

 

Account Number: """"""3006
Balance Due: $21,355.66
Amount Remitled: $

 

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| li||ii |tii lmi ii|i|i| i l t l t 1 | ii ATTN: F|NANC|AL SEHV|CES DEPT_
ANDREA C SPENCE 4285 GENESEE ST
FQ BOX 300706

CHEEKTOWAGA N¥ 14225-1943
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JAMA\CA PLA|N MA 02130-0035

 

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Bank ot America, N.A. “““‘ "*°"3006 $21,355.66

 

 

 

 

 

The above account has been relerred to our ollice by Bank of Americe, N.A.. Your account is listed as delinquent with atotai
amount due ol $21,355.56.

Federal law requires that we intorm you this communication is from a professional debt collector. T his is an attempt to collect a
debt. An*yeintoimation obtained will be used tor that purpose This collection agency is licensed by the Depanment ot Consumer
Atlairs, t City of New York License ii 1179143.

Un|css you notify this office within 30 days alter receiving this notice that you dispute the validity cl the debt or any portion
thereot. this oflice will assume this debt to be valid, lt you notify this office in writin within 30 days ot receiving this notice that
you dispute the validi of this debt or any portion thereoi, this otlice will obtain ver ication ot the debt or a copy ot a judgment
and mail you a copy o such judgment or verification lt you request this otiioe in writing within 30 days alter receiving this notice
this office will provide you with the name and address of the original creditor, il ditterent from the current creditor.

 

To make paying your account more convenient we offer the tollowing payment options:

o Check-by-phone at 1-866~328-8252 - Web Pay at www.gotonls.com
~ MoneyGram ExpressPayment o Pay in person at our office
o Debit Card c Enclose your payment in the envelope

You may contact a NonhstarAccount Flepresentative toll tree et 1-866-328-8252 or direct dial our Remittance Department at 1 -866-
328-8252 to make your payment.

 

 

 

NOT|CE OF lMPORTANT RIGHTS: YOU HAVE THE RlGHT TO MAKE A WR|TTEN OR ORAL REQUEST THAT TELEPHONE
CALLS REGARD|NG YOUFl DEBT NOT BE MADE TO YOU AT YOUF\ PLACE OF EMPLOYME NT. llfltNY SUCH ORAL
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WF\|T|NG TO NOHTHSTAF\ LOCAT|ON SERV|CES, LLC.

Massachusetts Oftice Location: 49 \Mnter Street Weymouth. MA 02188 Houis: Mon-Thurs 9AM-5PM EST

 

Payment website: https://www.gotonls.com

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Case 1:14-cv-12655-PBS Document 1-1 Filed 06/26/14 Page 21 of 50

4285 Genesee Slreet NOFlTHSTAFi
Cheekiowaga, NY 14225-1943 LOCAT|DN SERV|CES, LLC

1-866-328-8252
Hours Mon-Thur 8AM-1OPM EST,
Fri 8AM-8PM. Sat 8AM-4PM EST

September 7' 2010 ¢redltor: Bank ot Amerioa. N.A.

 

 

Account Number: "*"*‘"“°3006
Balance Due: $21,355.66
Amount Remithed: $

 

 

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ANDHEA C SPENCE AT|’N: FlNANCiAL SEFiVlCES DEPT.

PO BOX 300706 ` 4285 GEN ESEE ST

JAMA|cA PLA|N MA 02130_0035 l CHEEKTOWAGA NY 14225-1943

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Credltor Account ti ` Balance Due Amount Remitted
Bank of America, N.A. "'°'*‘°""’3006 $21,355.66

 

 

 

 

 

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Northstar Location Services, LLC would like to work witt:(¥ou in an effort to resolve the balance on the above account We are
willinth accept tai-weekly payments to be applied rowe the outstanding balance. Should you wish to take advantage ot this

optionl you must call our office by no later than 09/22/10.

Vou may also quai' for a hardship settlement for an amount less than the balance due. Feel free to contact our office at
1-866-328~8252 to iscuss this option with one of our representatives

Bank of America may be required by law to report this settlement to one or more taxing authorities. The Bank makes no
representation about tex consequences this may have or any reporting requirements that may be imposed on the Bank. You
should consult independent tax counsel of your own choosing il you desire advice about any tax consequences which may

result from this settlement
Please be advised that if this item does not clear through your bank, this settlement offer will he considered null and void.

Federai law requires that we inform you this communication is from a professional debt coilector. This is an attempt to collect a
debt. A information obtained will be used for that purpose. This collection agency is licensed by the Depa'rtment of Consumer
Affairs, t City of New York License # 1179143.

To mcati`r:c:aying your account more convenient we offer the following payment options:
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-by-phone at 1~866-328-8252 v Web Pay at www.gotonls.com
o MoneyGram ExpressPayment ~ Pay in person at our office
¢ Debit Card » Enclose your payment in the envelope

You ma contact a No rthstar Account Repreeentative toll free at 1-868~328~8252 or direct dial our Flemittance Department at 1~866-
328-82 2 to make your payment.

 

NOT|CE OF lMPORTANT FllGHTS: YOU HAVE THE FllGHT TO MAKE A WR|TTEN OFi OFiAL FiEQUEST THAT TELEPHONE
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WR|TiNG TO NOFlTHSTAR LOCAT|ON SERViCES. LLC.
Massachusetts Office Location: 49 Wlnter Street Weymouth, MA 02188 Hours: Mon-Thurs QAM-SPM EST

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NORTHSTAR

4285 Geneeee Street
Cheektowaga, NY 14225-1943 LOCATiON SEFW|CES, LLC
1 -866-328-8252

Hours Mon-Thur 8AM-10PM EST‘
Fri BAM-BPNl. Sat 8AM-4PM EST

September 27’ 2010 Credltor: Bank of America, N.A.

 

 

Account Number: """*"'""3006
Balance Due: $21,355_56
,Amount Remitted: $

 

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Credltor Account ll Balance Due Amount Remitted
Bank of America, N.A. ""°*""“'3006 $21,355.66

 

 

 

 

 

 

Dear ANDFiEA C SPENCE:

Our records indicate we recently sent you a letter. but we have not received a response. We would like to assist you by

customizing a payment arrangement based on your specific financial needs Shouid you wish to take advantage of this

assistance option, you must contact us immediately. We look forward to hearing from you.

Feel tree to contact our office lo ne otlate a payment or detach and submit the top ortlon of this letter along with our payment
immediately ll you prefer to take a antage of our Check-by-phone or Master Ca isa. contact our office at i-B 6-328-8252
to make arrangements

Federai law requires that we inform you this communication is from a professional debt collector. This is an attempt to collect a
debt. An information obtained will be used for that purpose This collection agency is licensed by the Department of Consumer
Aftalrs,t e City ot New Vork License if 1179143.

 

To make paying your account more convenient we offer the following payment options:

» Chec -by-phone at 1-866-328-8252 ~ Web Pay at www.gotonis`com
o MoneyGram ExpressPayment o Pay in person at our office
~ Debit Card o Enclose your payment in the envelope

You ma contact a NorthstarAccount Representative toll tree at 1 -866-328-8252 or cirect dial our Remittance Department at 1-866-
328-8 2 to make your payment

 

 

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POSTMARKED OFl DEL|VEF\ED WiTHlN SEVEN DAYS OF SUCH REQUEST. YOU MA¥ TERM|NATE TH|S REQUEST BY

WR|T|NG TO NORTHSTAR LOCAT|ON SEFlViCES. LLC.
Massachusetts Office Location: 49 Winter Street Weymouth. MA 02188 Hours: Mon-Thuis QAM-BPM EST

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Payment website: https://www.gotonis.com

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Ca| ls to or from this company may bc monitored OFF|CE HOURS.'
cr recorded l`or quality assurance 8AM-9PM MON Ti-lRU THURSDAY
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* *"Ta'< Scasoii Ot`fcr***

Doesti't everyone love gettin ' u tax return from all of` their hard work? lt's a time of year to ma}_:e liea_dway vvith your
finances and' eliminate debt. ou can put that refund to good use. Take the first step by accepting this special Tax Scason

offer TO DAY!

NCO Financiai Systems, inc. _\\':ini.s to oFFer _wii a quick way to settle your account Wc can accept $ i28 l3.4U as a lump
sum of thc above amou nt. This w:t\' _\'oii can resolve your account and usc the savings however you want! You have
worked hard all year to earn that rcl”und, so put it to good iise.

This oli`er will expire 45 days alter i|ic above date if you arc unable to take advantage of this offer or you arc not citing a

refund cheek7 please call us and speak to one_ol` our trained representatives tvho_ vi_.'ili work \vitl_i you to try and establish an
aliemat_iv'e rc~ n_\_'inent plan Our representatives have successfully assisted individuals in similar financial situations and
tire available uring thc hours listed above

Mail your payment along with the payment coupoii. or a copy thcreof, or call ns tit i-800-2l8-1|75.

You ma also make aymeot by visiting us online al www.ncglinrincial.com. Your unique registration code is
CFUH 22-78FD]}~£

This is an attempt to collect a debt. Ariy infomtation obtained will be used for that purpose This is a

communication from a debt collector_
PL.EASE RETURN TH|S PORT|ON WlTH YOUR PAYM ENT (MAKE SURE ADDRESS SHOWS THROUGH WINDOW)

 

MA ADDR:’!O NEW ENGU\ND BUS|NESS CENTBR DR, STE 204 6-;|: Account # - Current Balance Due

ANDOVER,MA 01810. OFC HRS;B:OOAM-S:OOPM MON-FR|DAY

SEE BACK OF PAGE FOR A NOT|CE OF lN\PORTANT RlGHTS FUHOOZ $ 21355.66

ANDREA C' SPENCE
Payment Amount l

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PO BOX 17080
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EXHIBIT D

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or recorded for qualityl assurance 8AM-9PM MON THRU THL)RSDAY
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CRED\TORI BANK Ol" AME}UCA/MBNA
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_' :Hgggi C SpENCE REGARDH\'G: PAST oUE BALANCE
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25 T°UER ST CURRENT BA.LANCE DJ $ 21 5 36

JAHAICA PLAIN l‘lA UBlBD-B?D\l

* **Tax Scasou Otl`cr***
Doesn't cvcrvont: love getting a lam return from all of their hard work`? lt's a time of year to make hwd\vny with your

finances amf eliminate debt. You cnn put that refund 10 good use. Take the first step by accepting this special Tax Scason
offer TODAYl

NCO Financial S)'stems, lnc, _\\'anls 10 offer you a quick way to settle vour account We can accept 512813.40 as a lump
Sum of thc above amou nt. This way _\'ou can resolve your account and use the savings however you want! You have
worked hard aJ| year to earn that rcfund, so put tt to good use.

This ol`l`t:r will expire 45 dn_\'s after the above date ll` you arc unable to take advantage of this offer or you arc not ctting a
refund c_heck, please call us and speak to one of our trained representatives who will work with you to try and mtabliish an
a|tcmattvc ro- aymcm plan Our representatives have successfully assisted individuals m similar financial situations and
arc available uring thc hours listed above

Mail your payment along with the payment coupon_ or a copy thereof, or call us at l-800-2l8-1l75_

Ynu mn also mnke}‘ra_yment by visiting us online al www.ncolinnncial.com. Your unique registration code is
CFUH 22-78FD] .

This is an attempt to collect a debt. Any infommtion obtained will bc used for that putpose. This is n

conununication from a debt collector.
PLEASE RETuRN THts PoRTtoN wm-t vouR FAYMEN_T (MAKE suRt;*§poREss sHows THRQQ§_t;tyvtNoowt

 

 

 

MA AooR;to New ENGLAND BustNEss cENTER oR, sTE 204 _~ -
ANoovER,MA 01310_ oFc HRs;a;ooAM-s;ooPM MoN-FRtoAv Our Ac¢°v"l # Current Balance Due
sEE BACK oF PAGE FOR A Nortct=. oF tuPoRTANT RtGHTs Fano2 $ 21355.66

ANDREA C SPENCE
Payment Amount l

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Chur:k lmra l your-ddr¢sl or phonl number lms
changed and prov|da the new |nformalion below

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NCO FINANClAL SYSTEMS
PO BOX 17080

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EXHlBlT E

Case 1:14-cv-12655-PBS Document 1-1 Filed 06/26/14 Page 27 of 50

Page: 2 0|7
Consumer€redit Report for ANDREA C. SPENCE Ftle Number: 327270!¢39 Date lssued: tina/2013
Redacted

BANK OF AMER|CA #374 3 2 2 999 72**** (Po Box 932235, EL PAso, Tx 79993-2235. Phone number not available t
Date Opened: 1 2/02/\993 Balance: $O Pay Status: )Charged Off<
Responslbillty: lndividual Account Date Updated: 11/18/2011 DateClosed: 05/08/2009
Account Type; Revolving Account Payment Recelved: $O Date Pa|d: 01 /05/2009
Loan Type: CRED|T CARD Last Payment Made: 01/05/ 2009 )Maximum Delinquizr\cy of 120 days in 06/?00§
High Balance: $21,472 and in 08/2009(
Original Charge-off: $2 1,3 5 5
Credit lelt.- $19.900

Remarlc$: PURCHASED BY ANOTHl;R LENDER: )UNPA|D BALANCE CHARGED OFF<
£stlmated month and earlhat this ltem will be removed: 02/2016

To dispute online go to: llt;tLL[t_r_a_n_su_nLtn,_e_grn[disputeonli_n”

 

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Page: 3 of7
Consumer(redit lleport for ANDRF_A (. SPENCE Ftle Number: 327270&39 Date lssued. 11/14/2013

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PO Box 1017
Hawthome. NY 10532 M°°‘”‘
Phone: 1~800-501-0909 ' FAX: 1-914-347-1973
W RE: Original lnstitution: Bank 01 America/FlA Card Services.
December 6, 2011 N_A_

Or|glnal Account No.: 374322030494682
Cavalry Account No.: 17025153

ilii|'iii'ii-l'-i'ir'll"il|'lii'l'li'l‘l"ii'l"l'l"li-'l-i-" °““‘°"d‘"° B°'-'“‘°°¢ ‘2°-794-32
=§jiir>:g¢ ANDREA c sPENcE

~..~r Po cox 300706

J‘*‘ ~ JAMAICA PLAiN,MA 02130-0035

       

 

35% DlSCOUNT OFFER
Dear ANDRt‘-,A C SPENCE YOU PAV ONLY $17,416.31
This letter serves as notice that the*iibove referenced account has been purchased by Cavalry SPV i. LL'C from FlA Card Services,
N.A., and has been referred to Cavaliy Portl`o|io Services. LLC (“Cava|ry") for collection

lt is important that you:

b Contact ustc arrange repayment terms (liowever, see your validation rights belo_w).

b Forward all future payments to the address listed below on thc payment coupon in

order to ensure proper credit and avoid delays in payment posting.

Unless you notify this office within 30 days alter receiving this notice that you dispute the validity of this debt or any portion
tiicreot`, this office will assume this debt is valid.
il`you notify this oliice in writing within 30 days from receiving this notice that you dispute the validity oi` this debt or any portion
ihereoi`. this oiiice will obtain verification of the debt or obtain a copy of` ajudgment and mail you a copy of such Judgment or
verification
|i` you request this office in writing within 30 days alter receiving this notice this ofl°ice will provide you with the name and address
of the original creditor, if different from the current creditor.

ll'you have any questions or wouid like to discuss pa merit solutions you may speak to a Customer Service Representative to
resolve your account by calling us toll free at (866) 42-2603.

 

 

 

Sinccre l y,

Oscar .l. Clielf
TH]S OFFER EXPlRES 45 DAYS FRDM 'l'l-lE DATE OF TH|S CORRESPONDENCE
TH|S |S AN ATTEMPT T 0 COLLECT A DEBT. ANY tNFCRMAT|ON DBTA|NED WlLL BE USED FOR
THAT PU RFDSE. TH|S COMMUNICAT|ON |S FROM A DEBT COLLECTOR.
sss ssi/sr§F-, stearns tnrQRTA.~Ur§ORMM'O~ CO~CER~\N_G_!Q\JB rents 4 _

 

 

 

 

35 lSC Please detach and return this ponton with your payment
in the enclosed envelope Be sure the address below
PAY ENT coupo N shows through the return envelope window.

Malie Checks and Money Orders Payable to

ANDREA C SPENCE Cavalry Portfolio Services, LLC.

PO BOX 300706
JAMAlCA PLAIN. MA 02130~0035

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Cavalry Portfolio Servlces, LLC

cavett-y Account No.: 17025153 PO BOX 27233
Out.shndtng Balanca: 326,794.32 Tempe, AZ 85285~7288
SetUsment Amount: $17.416.31

cl\vez:_
cAv.wm vi
acosta

NO CALLS ARE NECESSARY IF PAYMENT IS lNCLUDED

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PO BOX 1017
- Po\ii`t.`:lc. Sciyiccs.. LLC

HBWlhOm€. NY 10532 iioiim¢iors
'"°" Phon¢: (wa) 842-2603

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Feb""a"y 71 2012 nez onginaiinsiim'on: mdmawrmmmsemm.
OrlglnalAccountNo.: 374322030494682
Cavalry Accounmo.: 17025153
Outstanding Balance: $27.208.63

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'~ *“-“ét ANDREA c SPENCE
.--_. Po Box 300706
~, JAMAicA PLAiN. MA 02130-0035

 
 

 

ARE YOU GETTING A TAX REFUND?
WHY NOT USE IT TO TAKE ADVANTAGE
OF ONE OF OUR GREAT OFFERS THIS YEAR.

 

 

Cavalry wants you to get the most out of your tax refund this year by offering a 30% discount to help
pay your account

Even if you didn't get a tax refund, you are still entitled to take advantage of this great offer. .

That’s right, you can settle `y`o`u`r a`ccount"ii ’ t ` ' " §l%§i)¢“;io‘i`."$imply iiiail your payment along `
with the coupon at the bottom of this page in the eric osed enve ope.

lf you prefer, you can also pay this off in 4 353.38 A Savings of 20'%.

Plez_ise fch free lo call us at {'Q66Z 342-2603 to discuss this or the many exciting payment programs
available at Cavaliy. You can a so visit us on me at \m]y_.cgvn|gpg;tf_olig§gn'i`gg§.cgm to make a payment

or check account information

Sincerely,
Osca.r J. Ch'elf

 

T his Oj]‘¢r Expires 30 Drrys From Tlie Dale O_f This Corre.rpoudence.

 

TH|S IS AN ATTEMPT TO COLLECT A DEBT. ANY lNFORMAT|ON CBTAlNED WlLL BE USED FOR
THAT PURPOSE. TH|S COMMUN|CAT|ON lS FROM A DEBT COLLECTOR.
SEE REVERSE S|DE FOR IMPCRTANT INFORMATION CONCERN|NG YDUR RlGHTS

 

 

 

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Po sex 1017 *"" C avalry

Hawthome, NY 10532 summers l’nrtt`ollr) Sem`ces, I.LC.
`"“° Phone; aee-as<i~orss
.l:a .C°

 

August 10' 2012 RE: onginannsmmion: 'aai<QfAmenmrFl/\caru seveas.NA“

Orlginal Account No.: 374322030494682
Cavalry Account No.: 17025153
Outstandlng Ba__lance: $28.425.26

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. _ ANDREACSPENCE

_ Po eox aoovos
o JAMAicA PLA-lN, MA 02130 0035

 

 

f SUMMER SAVINGS PROGRAM j

 

 

 

 

Dear ANDREA C SPENCE
At Cavalry, we know how lmportant lt is to stretch every dollar as far as you can That's why we 've come up with a
special SgMMEB §AHN§S BRQGBAM that will help you to pay off this debt.
o _ PAY ONLY
20 /o iNsTANT DlscouNI §22 740 21
5 EA§Y lN§TALLMEN l § QE
b 0% QJ-$-¢_-QNJ`-Q-EE-° F R names

 

 

gm that Cavalry has available to assist you in paying off your account ~” " ' ~ ' 1 -~

[f you would like to pay your account via _our secure website. or to receive future offers by emai|, please visit us at
l .

Sincerely,
.ludy Rah|f

 

TH|S IS AN AT\'EMPT TO COLLECT A DEBT. ANY lNFORMATION OBTAlNED WlLL BE USED FOR
THAT PURPOSE. TH|S COMML|N|CAT|ON lS FROM A DEBT COLLECTOR.
SEE REVERSE S|DE FOR lMPORTANT lNFORMATlON CDNCERNING YOUR RIGHTS

 

 

 

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'°m‘ Phone: (aes) sewage
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O°t°be' 18' 2012 RE= original insumiion: mdmwuquNA

original Account No.: 374322030494682
Cavalry Account No.: 17025153
Outsta riding Balanco: $28,879.03

JAMAicA PLAiN, MA 021304)035 ED%,/]gm@§

 

( FRESH'START PR'OGRAM )
Ge;rANDREA C SPENCE, \

Al Cavalry, we recognize the importance of your overall financial health during these difficult economic times.
Consumers are taking control of their finances by spending less and paying down debt

Cavalry would like to help you by offering a §g°& discount to pay down your debt. and get you back on the
road to financial reocvery.

 

 

lf you prefer, you may also choose a 2 'sc l installmen 0. 4.
lf you would like to pay your account via our secure web site, or check account information, please visit us at
htt ' a ents. lio ' e m

|f these offers don‘t tit lnto your current budgetl please call us at (866) 883-0399 end we will work with you to
tailor a solution that falls within your finances.

 

30% DiscouNT 2°°/° DlSCOUNT
,..PA..Y o;N.i_y.-- . _oR \.P_AY_ONLY-

_ 5 iNSTAi.LMENT`s` 0F
§20,215.32 §4 620_64
This offer expires thirty days from the date of this lether. We are not obligated to renew this offer.

Sincerely,
Cavalry Portfolio Services, LLC

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TH|S lS AN ATTEMPT TO COLLECT A DEBT. ANY |NFORMATION OBTA|NEb WlLL BE USED FOR
THAT PURPOSE. TH|S COMMUN|CAT|(_)N lS FROM A DEBT COLLECTOR.
SEE REVERSE S|DE FOR lMPORTANT lNFORMATlON CONCERNING YOUR RlGHTS

 

 

 

 

 

 

 

 

 

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Cavalry
Valhalla, NY 10595 5 12 denman

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December 26' 2012 Ra: originai inauimion: mdmmcadsawms.NA
Origiial Account No.: 374322030494682
Cavalry Account No: 17025153
Cinstanding Baimce: $29,332.80

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m ANDREA C SPENCE
PO BOX 300708
JAMA|CA PU-\~|N. MA 02130-0035

 

f FRESH START PROGRAM j

Dear ANDREA C SPENCE,
At Cavalryl we recognize the importance of your overall nnancla| health during these difticult economic times.
Consumers ere taking control of their finances by spending less and paying down debt.

Cavalry would like to help you by offering a §§°[L¢i§_@gp_t to pay down your debt. and get you back on the
road to financial recovery.

if you prefer. you may also choose a t .
if you would like to pay your account via our secure wd) site or check account information. please visit us at

mw_l£o_a_yme_nta.cay.atome_rtfcuo.eenuc_ee.com

lf these offers don't tit into your current budget. please call us at (800) 861~4839 and we wm work with you to
tailor a solution that fails within your tinances.

40% DlSCOUNT 30% DlSCOUNT
_______~PAY oNLY._____ __ on c PAY,QNLY

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§ 17,599.68 §4 105_59

This ofler expires thirty days from the date of this letter. We are not obligated to renew this offer.

Sincere|y,
Cavalry Port'foiio Services, LLC

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original creation BANK oF A'MER\CA/i=iA cAnc sERvicES,
Account Number: 374322030494682 `

Account Balance: $29.977.28
Amount Remitted: $

 

 

 

 

December 5, 2013

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Credltor Origlna| Creditor Account # Account Balan-
CAVALRY SPV l, LLC BANK OF AMEFilCA/F|A CAFiD
SERWCES_ N_A_ 374322030494682 $29,977.28

Dear Andrea C Spence _
Wiea€rte writing to you regarding your CAVALFW SPV ll LLC account This account has been placed with our office for
co on.

As of the date of this letter you owe $29,977.28. Because of interest, lat_e charges, and other charges that may vary from
day to day. the amount due on the day you pay may be greater. Hence if ou pay the amount shown above, an adjustment
may be necessa after _we receive ycu_r payment fan adjustment is ma el we may attempt to contact you again about the
adjustment For rther infomiation, write the undersigned or call 1-888-400~7808.

Unless you notify thi_s office within 30 days after receiving this n_otlce tha_t you _dispu_te_the validity of this debt or any portion
thereof, this office will assume this debt is valld. ii you notify this_ office in writing _within_ 30 days from receiving this notice
that you dispute the validity of this debt o_r any portion thereof, this office will ob ain verification of the debt or obtain a copy of
a ju gment and mail ou a copy _of such Judgmer_it or verrlication. ll ou request of this office in writingfwithin 30 days after
rec§i;iing this notice t is office will provi e you with the name and a dress of the original creditor. ii di erent from the current
ore i or.

Sincere|y.

American Coradius lntemational LLC

A Professional Debt Recoveiy Agency

fThitshc<t)mmunication is from a debt coilector. This is an attempt to collect a debt and any information obtained will be used
or a ose. -. .

Cal|s to%‘:rli)'om this company may be monitored or recorded for quality assurance pu`rposes.

MASSACHUSE'ITS LOCAL ADDRESS: 15 UNlON ST. LAWFiENCE, NiA 01840

'PLEASE DO NOT SEND PAYMENTS TO TH|S ADDRESS*

NOTlCE OF iMPOFlTANT FiiGHTS. YOU HAVE THE HIGHT TO MAKE A WFlITTEN OFt ORAL REQUEST THAT
TELEPHONE CALLS FiEGAFiD|NG ¥OUFi DEBT NOT BE MADE TO VOU AT YOUR PLACE OF EMPLOYMENT. AN¥
SUCH OFtAL FiEQUEST WiLL BE VAL|D FOFl ONLY TEN 10) DAYS UNLESS YOU PROV|DE WR|`|TEN
CONF|RMAT|ON OF THE FiEQUEST POSTMARKED OR EL|VEFii'-_'D WiTHlN SEVEN (7) DAYS OF SUCH REOUEST.
YOU MAY TERMINATE TH|S FiEOUEST BY WFllTlNG TO THE DEBT COLLECTOR. ‘

 

For your convenience you can now resolve this matter online . Logon to www.acibillpay.com to see the repayment
, _ options available to ou. _ ` '
You will need your 7 digit ACi reference number _ 18438 available when ou lo in.
You can now make payment arrangements on your account usng checking, credit car or de it card accounts.

 

 

Office Address: 2420 Sweet Home Rd Ste 150, Amherst NY 14228-2244
Hours of Operaticn: Mon-Thurs: 8AM-9PM. Fri: 8AM-5PM, Sat.' 8AM~12PM EST

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March 13,2014

Via Certi]iea' Mail
Return Receipt Requested No. 941 4 7102 0079 3 047 8952 93

Mr. Alfrcd Brothcrs, Chief Executive Officer
Cavalry Portfolio Services, LLC

500 Summit Lake Drive, Suite 400

Valhalla, NY 10595

Return Receip! Requested No. 9414 7102 0088 2116 2943 62

Chief Executive Ofi`icer

Cavalry SPV l, LLC

500 Summit Lake Drive, Suite 400
Valhalla, NY 10595

Re: Demand for ReliefPursuant 10 Mass. Gen. Laws, c. 93A §9
On BehalfofAndréa Spence and A Class of Simi`larly Si`tuated Persons

Dcar Sir/Madam:

Please consider this a demand for relief pursuant to Massachusetts General Laws, Chapter
93A, made on behalf of MS. Andréa Spence, to Cavalry Portfolio Services, LLC and Cavalry
SPV l, LLC (collcctively “Cavalry”). MS. Spence makes this demand on behalf of herself and a
class of persons similarly situated Ms. Spence and the class she seeks to represent have suffered
damages caused by Cavalry’s unfair and deceptive debt collection practices, which violate the
Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq., M.G.L. c. 93 §49, § 54A, and 68,
c. 93A, and other applicable laws and regulations The following summary describes these
violations of law and provides Cavalry With an opportunity to settle this matter on a class-wide
basis.

Facts

Since at least 2009, Cavalry has collected or attempted to collect debts from consumers in
Massachusetts Cavalry purchases, or claims to purchase, credit card debts from banks months or
years after the bank has charged-off the debts. As a standard practice, and for a variety of Sound
business reasons, most banks waive interest on credit card debts after charge-off for as long as
the debts are held by the banks. When Cavalry purchases a debt, it retroactively adds interest for
the period prior to the date it allegedly became the owner cf the debts, and during which the prior

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owner had waived any right to collect interest Specifrcally, Cavalry adds interest for the period
between charge-off and the alleged purchase by Cavalry. Cavalry then seeks to collect this
inflated lawsuits through written demands and lawsuits. lt also engages in inaccurate credit
reporting in an effort to collect such unauthorized interest

Specit`rcally, Cavalry reports an amount to the credit bureaus that includes interest for the
period of time after charge-off and prior to sale of the account to a debt purchaser. The reporting
is made to anyone who may see and use credit reports, including the consumer and other
creditors.

The retroactive addition of previously waived interest is unlawful.»An assignee steps into
the shoes of the assignor as of the date the assignor sells the account, and has no right to
retroactively reverse the assignor’s business decision to not charge interest during a period when
the assignee did not hold the account Moreover, Cavalry continues to prospectively add interest
to its purchased debts prospectively at an unknown rate, even though no agreement allows it to
do so.

F acts Relating to Andréa Spence

On or about August 13, 2009, Ms. Spence received a collection letter from FlA Card
Services, N.A., on behalf of Bank of America, indicating an account balance of $2],472. On or
about August 20, 2009, FlA Card Services, N.A. sent Ms. Spence another collection letter on
behalf of Bank of America which stated “This is Our Final Notice” and that the account was
about to be written off as bad debt. The letter further stated that once the account was written off,
it would be sold to a third party and the third party Would continue to collect this balance. Bank
of America charged-off MS. Spence’s account in September 2009 in the amount of $21,355 and
reported that amount to the three credit reporting agencies, but it retained the account until
November 2011.

Beginning in September 2009 through January 2011 Ms. Spence received at least six
letters from a series of debt collectors seeking to collect the alleged debt on behalf of Bank of
America, all stating an unchanging Balance Due of $21, 355. 66.

The final letter rn this series Was sent on January 8, 2011, by NCO Financial Systems Inc.
on behalf of Bank of America. The letter stated that the Current Balance Duc on the alleged debt
on January 8, 2011 was $21,355.66.

In November, 2011, Bank of America reported to the three credit reporting agencies that
the charge-off amount for this account was $21,355, and the High Balance was $21,472.

ln November 201 1, Bank of America sold the account to Cavalry.
On or about December 6, 2011, Cavalry Por‘tfolio Services, LLC sent MS. Spence a

collection letter on behalf of Cavalry SPV l, LLC, stating that it had purchased the alleged Bank
of America credit card account, and that the Current Balance now due was $ $26,794.32. The

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balance had increased by $5,438.66 in only one month. Such an increase would involve an
interest rate in excess of 100% and is not authorized on any credit card issued by Bank of
America and its affiliates

Calvary then proceeded to send collection letters with ever increasing balances, adding
interest at an unknown rate. On February 7, 2012, Cavalry sent Ms. Spence a collection letter,
which stated the amount ofthe debt as $27,208.62. On August 10, 2012, Cavalry sent Ms.
Spence a collection letter, which stated the amount of the debt as $28,425.26. October 18, 2012,
Cavalry sent Ms. Spence a collection letter, which stated the amount of the debt as $28,879.03.
On December 26, 2012, Cavalry sent Ms. Spence a collection letter, which stated the amount of
the debt as $29,332.80. There was no agreement between Ms. Spence and Cavalry authorizing
the imposition of interest.

ln November 2013, Cavalry reported the debt to Experian, Equifax and Trans Union in
the amount of $29,977. Cavalry continues to report this alleged debt.

On or about December 5, 2013 and January 10, 2013, American Coradius International
LLC (ACI) sent Ms. Spence collection letters on behalf of Cavalry SPV l, LLC. Both letters
stated the amount of the debt as $29,977.28.

Cavalry added interest at unknown rates for periods prior to their alleged purchase of the
debt, while the debt was owned by Bank of America. Bank of America had not added such
interest to the debt. Bank of America did not send any billing statements to MS. Spence after it
charged-off the account.

Bank of America treated the debt as being in the amount of $21,355. Bank of America
sold the debt as being one of $21,355. Between the date the account was charged-off and the date
Bank of America allegedly sold the debt to Cavalry, Bank of America waived all further interest
and finance charges on the account. Bank of America had reported the amount to Trans Union as
one of $21 ,355 and not Some larger amount.

After its purchase of the debt, Cavalry began adding interest at an unknown rate
prospectively. No agreement between MS. Spence and Cavalry authorizes the imposition of
interest ` ~

Violations of Law

Cavalry committed multiple violations of federal and state law in attempting to collect the
alleged debt from Ms. Spence and other similarly situated individuals Cavalry’s violations of the
FDCPA include, without limitation:

0 By adding unauthorized interest to debts, Cavalry engaged in a deceptive collection
practice, in violation of 15 U.S.C. §§1692e, 1692€(2), 1692e(5), and 1692e(10), and
an unfair collection practice, in violation of 15 U.S.C. §§1692f and 1692f(l).

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By reporting the unauthorized interest to credit reporting agencies, Cavalry violated
15 U.S.C, §§1692€.

Cavalry also violated M.G.L. c. 93A § 2 with respect to Ms. Spence and each class
member by engaging in collection practices that were unfair, deceptive, and/or unconscionable
The violations Cavalry has engaged in include the violations of the FDCPA cited above, and the
following without limitation:

Attempting to collect debts while unlicensed and unbonded, in violation of M.G.L. c.
93, §§ 24-28, 49, and c. 93A;

Attempting to collect a debt in an unfair, deceptive or unreasonable manner, in
violation of M.G.L. c. 93, § 49, and c. 93A;

The reporting of false information to credit bureaus in violation of M.G.L. c. 93, §
54A, and 68.

The use of false, deceptive, or misleading representation or means in connection With
the collection of any debt, including but not limited to: the threat to take any action
that cannot legally be taken; the false representation of the character, amount, or legal
status of any debt; or communicating to any person credit information which is known
or which should be known to be false, 209 C.M.R. 18.16 (2), (5), (8).

The use of unfair or unconscionable means to collect or attempt to collect a debt,
including but not limited to: e collection of any amount (including any interest, fee,
charge, or expense incidental to the principal obligation) unless such amount is
expressly authorized by the agreement creating the debt or permitted by law. 209
C.M.R.18.17(1)

Demand for Relief

By thc actions described above, Cavalry has violated M.G.L. c. 93A and other consumer
protection laws. As a result of Cavalry’s actions, MS. Spence and class members have suffered
damages, including without limitation, statutory damages Accordingly, on behalf of Ms. Spence
and class members, l hereby demand that Cavalry:

B..

Pay statutory damages to the class pursuant to 15 U. S. C. § 1692k and c. 93A § 9,
together with reasonable attorney’ s fees and costs;

Pay actual and punitive damages pursuant to M.G.L. c. 93, § 63 and 64, together with
attorney’s fees and costs;

Disgorge any amounts collected from Massachusetts consumers who’s debt Cavalry
added interest to for a period prior to the alleged ownership of the debt by Cavalry,
that had not been added by the holder of the debt at that time_;

Delete or revise any credit reporting that includes any such interest; and

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e. Conduct its debt collection business in Massachusetts in accordance with applicable
laws from this date forward.

M.G.L. c. 93A, § 9 provides Cavalry with the opportunity to make a reasonable written
settlement offer within thirty days of your receipt of this lctter. Should no reasonable settlement
offer be made, Ms. Spence and similarly situated individuals may recover up to three times actual
damages, plus attomeys’ fees and costs.

ln this regard, 1 direct your attention to the Supreme Judicial Court’s view of the policy
behind c. 93A’s settlement encouraging directive:

Indeed, the conduct proscribed by the Statute is as much the failure to make a
reasonable settlement offer as it is the substantive violation of c. 93A. Multiple
damages are the “appropriate punishment” for forcing Plaintiff and other similarly
situated individuals to litigate clearly valid claims.

International Fidelily Ins. Co. v. Wilson, 443, N.E. 2d 1308, 1318 (1983).

I look forward to hearing from you so that we may work toward a prompt and equitable
settlement of this matter.

Sin erely,

Elizabeth Ryan

cc: -Andréa Spence

